Case 2:05-cr-20250-SH|\/| Document 60 Filed 08/29/05 Page 1 of 3 Page|D 63

IN THE UNITED STATES DISTRICT COURT HEDEKW§Z§;__ ne
FOR THE WESTERN DISTRICT OF TENNESSEE

wESTERN DIVISION 05 mg 29 AH 5; ha

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alan u.s. msmzcroo\m
wm oF m, simms

 

UNITED STATES OF AMERICA
Plaintiff,

V.

Dsui$ ./'}ARR\S

Criminal No. E» 2020? Ml

(90-Day Continuance)

 

 

 

 

VV\_/~_/~_»~_,VVVVV`_,`_,VVVV`_,`_,`,

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the
September, 2005, criminal rotation calendar, but is now RESET for
report at 9:00 a.m. on Wednesdav. November;g;4 2005, with trial
to take place on the December, 2005, rotation calendar with the
time excluded under the Speedy Trial Act through December 16,

2005. Agreed in open court at report date this 26th day of

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with ama 55 and/or 32(b) FRC:P on &I '05 0

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August, 2005.

So ORDERED this 26ch day of August, 2005.

w m di

JON PHIPPS MCCALLA

ZzE U'N TED S'I`A'I`ES DISTRICT JUDGE

Assistant United States Attorney

 

 

 

 

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Counsel for Defendant(s)

 

   

UNITD SATES ISTRIC COURT - ESTERN DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:05-CR-20250 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael G. Floyd

FLOYD LAW FIRM
2129 Winchester Rd.
Memphis7 TN 38116

Honorable J on McCalla
US DISTRICT COURT

